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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

  UNITED STATES OF AMERICA                                            CRIMINAL ACTION


  VERSUS                                                              NO: 20-55


  JASON R. WILLIAMS, ET AL.                                           SECTION: "I"


  UNITED STATES OF AMERICA                                            CRIMINAL ACTION


  VERSUS                                                              NO: 20-139


  NICOLE BURDETT                                                      SECTION: "I"


                                    ORDER AND REASONS

       Before the Court is the government’s motion in limine to exclude defense expert

testimony. For the reasons that follow, the motion is GRANTED in part (with respect to the

second sentence of paragraph 31 of the revised expert report), DENIED in part (with respect to

paragraph 14(a) of the revised expert report), and DEFERRED to trial, in part, as to the

government’s remaining objections.

                                            Background

       A critical issue in the government’s case is whether the defendants willfully falsified tax

returns by directing their tax preparer at the time, Henry Timothy (“Timothy”), to inflate Schedule

C business expenses or, instead, whether the defendants reasonably relied on the advice and

services of Timothy. Defense counsel have disclosed to the government a report by Harold A.

Asher (“Asher”), an expert Certified Public Accountant and Fraud Examiner, whom will testify

for the defense at trial. As the defendants put it, “Mr. Asher will opine on facts that squarely negate

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the government’s theory of prosecution and support the defense theory of good faith reliance and

lack of proof beyond a reasonable doubt.”

        Previously, the Court held a status conference, at which time it dismissed without prejudice

the government’s motion in limine to exclude portions of Asher’s proposed testimony contained

in his initial report, the Court being critical of certain specific portions of Asher’s report. The

Court permitted the defendants to submit a revised expert report and the defendants did so. The

scope of Asher’s report encompasses the role and qualifications of CPAs and the standards of

conduct applicable to a CPA; rules regarding the preparation of tax returns, including Schedule C

deductions, Earned Income Tax Credit filings, and Head of Household filings; the defendants’

hiring of tax preparer Henry Timothy, whom purportedly held himself out to be a CPA, to prepare

their tax returns; Timothy’s review of documents provided by the defendants to Timothy for tax

return preparation; Tax Court and IRS standards governing taxpayers’ reliance on a tax preparer;

Timothy’s treatment of the tax returns of defendants, those of his other clients, and his own; and

penalties to which tax preparers like Timothy are subject for violations of the Internal Revenue

Code.

        Re-urging the arguments advanced in support of its first motion to exclude, the government

now moves to exclude portions of Asher’s proposed expert testimony on the grounds that his

proposed testimony (1) improperly comments on the defendants’ mens rea; (2) seeks to introduce

the defendants’ self-serving hearsay statements through a third-party witness; (3) invades the

province of the jury by offering conclusions as to witness credibility; and (4) violates Rule 403

because any probative value of the testimony is substantially outweighed by the dangers identified

in the rule.




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                                                               I.

           Four Rules of Evidence provide the framework to resolve the government’s motion in

limine challenging Asher’s proposed testimony. Article VII of the Federal Rules of Evidence

governs Opinions and Expert Testimony. As a threshold matter, to be admissible, expert testimony

must be helpful to the trier of fact. See Fed. R. Evid. 702(a) (for opinion testimony to be

admissible, the expert’s specialized knowledge must, among other things, “help the trier of fact to

understand the evidence or to determine a fact in issue[.]”). 1 Given that jurors are “the judges of

the facts” (Fifth Circuit Pattern Instruction No. 1.04) and “the sole judges of the credibility or

‘believability’ of each witness and the weight to be given to the witness’s testimony” (Fifth Circuit

Pattern Instruction No. 1.09), it follows that an expert witness may not expressly state that he

believed or disbelieved a certain witness. See United States v. Moore, 997 F.2d 55, 59 (5th Cir.

1993)(citation omitted).            Express bolstering or vouching, or explicit discrediting, is simply

unhelpful.

           Rule 703 governs sources and bases for expert opinions; it provides:

           An expert may base an opinion on facts or data in the case that the expert has been
           made aware of or personally observed. If experts in the particular field would
           reasonably rely on those kinds of facts or data in forming an opinion on the subject,
           they need not be admissible for the opinion to be admitted. But if the facts or data
           would otherwise be inadmissible, the proponent of the opinion may disclose them
           to the jury only if their probative value in helping the jury evaluate the opinion
           substantially outweighs their prejudicial effect.




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    Rule 702 provides:
           A witness who is qualified as an expert by knowledge, skill, experience, training, or education
           may testify in the form of an opinion or otherwise if:
           (a) the expert’s scientific, technical, or other specialized knowledge will help the trier of fact to
           understand the evidence or to determine a fact in issue;
           (b) the testimony is based on sufficient facts or data;
           (c) the testimony is the product of reliable principles and methods; and
           (d) the expert has reliably applied the principles and methods to the facts of the case.

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       Regarding opinions on ultimate issues, Rule 704 states:

       (a) In General—Not Automatically Objectionable. An opinion is not objectionable
       just because it embraces an ultimate issue.
       (b) Exception. In a criminal case, an expert witness must not state an opinion about
       whether the defendant did or did not have a mental state or condition that constitutes
       an element of the crime charged or of a defense. Those matters are for the trier of
       fact alone.

       Just as an expert witness may not expressly bolster or direct a credibility determination,

nor may an expert witness in a criminal case usurp the jury’s role by drawing for the jury the

conclusion that a defendant did or did not have the requisite mental state. United States v. Dotson,

817 F.2d 1127 (5th Cir. 1987), vacated in part on other grounds on reh’g, 821 F.2d 1034 (5th Cir.

1987), is the seminal Fifth Circuit case analyzing the boundary between permissible summary

opinion tied to facts and impermissible opinions which draw the forbidden conclusion that the

defendant did or did not have the requisite mental state. There, the Fifth Circuit noted that Rule

704 prohibits experts from testifying as to the “ultimate legal issue” (whether the defendant did

nor did not have the requisite state of mind), “yet permits experts to ‘present and explain’ their

diagnosis, that is, their analysis of the facts based on their special knowledge qualifying them as

experts.” Dotson, 817 F.2d at 1132. Ultimately, the Fifth Circuit found no error in the district

court’s admission of the government’s tax expert’s “summary of the evidence” supporting the

government’s tax evasion case, concluding that “the expert’s summary merely explained his

analysis of the facts indicating willful evasion, and did not, perhaps with the exception noted

below, directly embrace the ultimate question of whether [the defendant] did in fact intend to evade

income taxes.” Id. The court then considered the following excerpted testimony, which it

characterized as “[t]he most borderline of the expert’s statements”:




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        In 1983, again, [Dotson’s net worth] increased again forty thousand dollars, almost
        the same amount it did in 1981 through the period, so they are consecutive
        increases, which lead me to believe that Mr. Dotson’s net worth and/or his equity
        was increasing through the period. This is indicative, and based on my experience
        shows to me, that he willfully and intentionally increased his income knowing full
        well that he had not reported the taxes due thereon.


Id. (emphasis added). Even though the italicized excerpt reasonably “c[ould] be interpreted in two

ways”—either a permissible summary or an impermissible conclusion on the ultimate issue—the

Fifth Circuit determined that the district court did not err in admitting it. Id. In considering

whether proposed testimony crosses the line, then, Dotson thus instructs the district court to

evaluate “the focus of the [proponent’s] questions” to determine whether that focus is “on facts

that might support the jury’s acceptance of an inference of intent ... [and whether] the responses

of the expert were also focused on the evidence, rather than addressing the ultimate issue forbidden

by rule 704.” Id.

        Context is thus critical to determining whether a proffered opinion is on the permissible

side of the line between a summary tethered to facts and a direct statement regarding mindset. To

be sure, “Rule 704(b) is not strictly construed and prohibits only a direct statement of the

defendant’s intent.” United States v. Speer, 30 F.3d 605, 610 (5th Cir. 1994)(citing Dotson, 817

F.2d at 1132).

        In addition to the Federal Rules of Evidence directed to opinion testimony, the permissible

contours of an expert’s proposed testimony are further defined by other evidence rules, such as the

rule against hearsay. When a party objects to expert testimony on the ground that the expert is

merely serving as a conduit through which hearsay testimony is admitted, the Court must consider

whether such proposed testimony violates Rule 802, which articulates the rule against hearsay. 2


2
 “‘Hearsay’ means a statement that: (1) the declarant does not make while testifying at the current trial or hearing;
and (2) a party offers in evidence to prove the truth of the matter asserted in the statement.” Fed. R. Evid. 801(c).

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“Hearsay is not admissible unless any of the following provides otherwise: a federal statute; these

rules; or other rules prescribed by the Supreme Court.” Fed. R. Evid. 802. In considering whether

proposed testimony violates the hearsay rules, then, the Court must remain mindful of the rules

directed to permissible sources of expert testimony, specifically Rule 703. 3 Indeed, as the Fifth

Circuit has observed when considering whether an expert was merely a conduit for testimonial

hearsay:

         Rule 703 allows an expert to base his testimony on otherwise inadmissible hearsay
         evidence. Fed. R. Evid. 703. An expert’s opinion may be based on both the
         evidence in the case and his education and experience. United States v. Williams,
         447 F.2d 1285, 1290 (5th Cir. 1971)(en banc). “Thus, when the expert witness has
         consulted numerous sources, and uses that information, together with his own
         professional knowledge and experience, to arrive at his opinion, that opinion is
         regarded as evidence in its own right and not as hearsay in disguise.” Id.

United States v. Lockhart, 844 F.3d 501, 511-12 (5th Cir. 2016)(holding that government law

enforcement officer testifying as a gang expert “did not serve as a conduit for inadmissible

testimonial hearsay.”).

         Finally, as in any case, a typical catchall challenge to all evidence, including proposed

expert testimony, invokes Rule 403, which vests the Court with discretion to employ a balancing



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  Rule 703 states:
          An expert may base an opinion on facts or data in the case that the expert has been made aware of
          or personally observed. If experts in the particular field would reasonably rely on those kinds of
          facts or data in forming an opinion on the subject, they need not be admissible for the opinion to be
          admitted. But if the facts or data would otherwise be inadmissible, the proponent of the opinion
          may disclose them to the jury only if their probative value in helping the jury evaluate the opinion
          substantially outweighs their prejudicial effect.
(emphasis added). An unpublished Third Circuit opinion illustrates how the Rule 703 balancing test applies in the
clearest of cases to exclude a proffered defense expert’s proposed testimony that “was largely a conduit for hearsay
[as it contained] more of [the defendant’s] would be testimony than [expert] opinion” and “simply proclaimed [the
defendant’s] innocence without forming any expert conclusion.” See United States v. Gilmore, 837 Fed.Appx. 101,
104 (3d Cir. 2020). There, the Third Circuit affirmed the trial court’s ruling granting the government’s motion in
limine to exclude the defense expert, in part, because the probative value of the otherwise inadmissible “facts”
memorialized in the expert’s report did not substantially outweigh their prejudicial effect. Examples of the hearsay
statements, which the report conveyed as facts, include: “He told me he would never dream of hiding income tax or
taking any other illegal steps to evade taxes” and “He told me he has never filed a false tax return.” Id. The Third
Circuit agreed with the district court that “dressing up [the defendant’s] statements in the guise of expert opinion does
not render such statements—or the expert opinion itself—admissible.” Id.

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test to “exclude relevant evidence if its probative value is substantially outweighed by a danger of

[any] of the following: unfair prejudice, confusing the issues, misleading the jury, undue delay,

wasting time, or needlessly presenting cumulative evidence.”

           Mindful of these rules and the relative impediment of applying them with any certitude

pretrial, the Court considers, in turn, each of the government’s objections to Asher’s proposed

testimony.

                                                         II.
                                                         A.

           As a threshold matter, the Court underscores that the government does not challenge

Asher’s proposed testimony or qualifications under Rule 702/Daubert. 4 To be sure, wholesale

exclusion of expert testimony is “‘the exception rather than the rule.’” United States v. Perry, No.

17-30610, 2022 WL 1498953, --- F.4th ---, at *14 (5th Cir. May 12, 2022)(quoting Fed. R. Evid.

702 advisory committee’s notes (2000)). Absent a Daubert challenge, the Court’s (mandatory, if

perfunctory) gatekeeping Daubert inquiry is pretermitted to trial. See id. at *13.

                                                         B.

           Though it only specifically challenges a handful of proposed statements by defense expert

Asher, the government contends that “most of” Asher’s proposed testimony is inadmissible for

three reasons and it finally argues that, even if it is admissible, perhaps all of it should be excluded

for a fourth reason, as follows: (1) the proposed testimony (specifically contained in revised report

paragraphs 14, 15, and 21) improperly comments on the defendants’ mens rea; (2) the proposed

testimony (contained in paragraph 15) seeks to introduce the defendants’ self-serving hearsay

statements through a third-party witness; (3) the proposed testimony (contained in paragraphs 31

and 38) invades the province of the jury by directing conclusions as to witness credibility; and (4)


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    See Minute Entry dtd. 6/10/22 at Rec.Doc. 329 (20cr55) and Rec.Doc. 198 (20cr139).

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finally, even if the proposed testimony is relevant and admissible, the government argues that it

fails the Rule 403 balancing test.

       1. Whether Asher’s “Reasonable Reliance” Opinion Violates Rule 704(b).

       First, the government contends that Asher’s proposed testimony that the defendants

reasonably relied upon Timothy is improper. Specifically, the government challenges paragraphs

14, 15, and 21 of Asher’s revised expert report and argues that Asher’s comments on the

defendants’ mental states violate Rule 704(b). The defendants counter that Asher’s proposed

testimony concerning reasonable reliance on a tax preparer does not directly state that the

defendants lacked culpable mental states and thus complies with Rule 704(b) and Dotson.

       Dotson illustrates that context is critical to resolve whether an expert’s opinion is

permissible evidentiary summary testimony or an impermissible direct statement regarding a

defendant’s intent. Under the heading “Reasonable Reliance Upon the Advice of a CPA,” the

revised report at paragraphs 1-13 summarizes Asher’s opinions concerning the utility offered by

Certified Public Accountants in general in preparing reliable tax returns in accordance with CPA

standards and in offering tax-saving opportunities for taxpayers; describes the American Institute

of Certified Public Accountants’ statements on standards for tax services and enforceable tax

practice standards for CPAs; cites documentary exhibits, noting that Timothy represented to

various tax clients (including Mr. Williams and Ms. Burdett) that he was a CPA (when, in fact, he

was not a CPA); and summarizes regulations governing practice before the IRS. At paragraphs 14

and 15, Asher states the three requirements articulated by the Tax Court and the IRS for

establishing reasonable reliance on professional advice and his opinion and conclusion reached

after applying these requirements to the facts of this case:

       14. The Tax Court and the IRS have stated that three basic requirements for
       establishing reasonable reliance on professional advice is as follows:


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                a. The professional is a competent tax advisor with sufficient expertise to
       justify reliance.
                If Mr. Timothy represented himself to Mr. Williams and Ms. Burdette
       [sic] as a CPA who was required to comply with the CPA tax preparation
       standards and had sufficient expertise to justify reliance, it would be
       reasonable for Mr. Williams and Mrs. Burdette to rely upon his advice.

               b. The taxpayer provided necessary and accurate information to the advisor.

              My opinion is that Mr. Williams and Mr. [sic] Burdett provided sufficient
       information to Mr. Timothy because the U.S. has used the same information
       provided by Mr. Williams and Ms. Burdett to Mr. Timothy as their source for
       determining the claimed revised taxable income for the years at issue in this matter.

               c. The taxpayer actually relied in good faith on the advisor’s judgment.

               The IRS states that its examiners must consider the taxpayer’s education,
       sophistication and business experience as being relevant.

               As in CNT Investors, LLC v. Commissioner, Mr. Williams and Ms. Burdett
       were lawyers. However, as the Tax Court found there and as present in this
       matter, being a lawyer who has taken a single tax course in 1996 is not
       equivalent to tax expertise. Attorneys reasonably rely upon the advice of their tax
       return preparer to accurately prepare their income tax returns.

       15. Conclusion – Mr. Williams and Ms. Burdett reasonably relied upon Mr.
       Timothy in connection with the income tax returns at issue as summarized below:

              a. Mr. Williams and Ms. Burdett sought the advice of Mr. Timothy
       whom they believed to be a sufficiently skilled CPA who would apply the
       applicable professional CPA and tax preparer standards in connection with
       preparing income tax returns that were in compliance with the applicable tax
       laws and regulations.

             b. Mr. Williams and Ms. Burdett provided full and complete
       information to Mr. Timothy which included all the necessary documents,
       support and facts needed by Mr. Timothy to prepare tax returns that were in
       compliance with the applicable tax laws and regulation.

             c. Mr. Williams and Ms. Burdett filed the returns as prepared by Mr.
       Timothy.

Rec.Doc. 310-2 (20cr55) and Rec.Doc. 186-2 (20cr139), Asher’s Revised Report (emphasis added

to those paragraphs which the government challenges: portions of 14(a) and (c); 15, 15(a) and (b)).



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       Asher then turns to consider, “Documents Provided by Williams and Burdett,” in

paragraphs 16-23, with his opinion at paragraph 24. The government challenges paragraph 21,

which is emphasized for ease of reference:

       16. As reflected in my Curriculum Vitae, I have been a Certified Fraud Examiner
       since 1995 and have been involved in numerous fraud related matters.

       17. In my experience in fraud related matters, the perpetrators generally destroy
       documents evidencing the fraudulent conduct.

       18. There are ample tax software alternatives that individuals can use to prepare
       their own tax returns rather than going to a return preparer.

       19. Mr. Timothy overstated Mr. Williams’ and Ms. Burdett’s revenues for the years
       at issue.

       20. It is unlikely that individuals engaging in tax fraud would have overstated their
       revenues for years at issue.

       21. The facts that Mr. Williams and Ms. Burdett kept their records for all
       relevant years, used and relied upon a tax preparer and overstated their
       revenues are indicators that their actions were not fraudulent for the years at
       issue.

       22. Mr. Williams and Ms. Burdett provided Mr. Timothy the same records that the
       U.S. used to determine what they claim to be the appropriate income.

       23. Mr. Williams and Ms. Burdett provided Mr. Timothy with summary and
       detailed revenue and expense support and cash receipts disbursements activity for
       the relevant years. Any taxpayer would expect their tax return preparer to prepare
       their income tax returns in compliance with the Internal Revenue Code based upon
       the tax preparers due diligence and analysis of the records that they provided.

       24. Conclusion - As stated above, Mr. Williams and Ms. Burdett maintained and
       provided sufficient records for a competent tax return preparer to perform adequate
       due diligence and analysis for use in preparing accurate, reliable and tax compliant
       income tax returns.

       The government submits that Rule 704(b) precludes admission of the above-emphasized

statements by Asher. The defendants counter that Asher’s challenged statements and conclusions

(reached after he sets forth the supporting facts)—namely, that “Mr. Williams and Ms. Burdett



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reasonably relied upon Mr. Timothy in connection with the income tax returns at issue”—are far

narrower than that offered by the expert in Dotson. 5 Subject to Asher’s testimony remaining

focused on facts as Dotson instructs, the Court defers resolution of specific objections to trial with

the following guidance.

         Paragraph 14(a) is phrased conditionally and falls clearly within the scope of permissible

expert testimony.        Respecting the third requirement for establishing reasonable reliance in

paragraph 14(c), Asher’s opinion that “being a lawyer who has taken a single tax course in 1996

is not equivalent to tax expertise” likewise does not appear to offend Rule 704(b); however,

Asher’s particular expertise in this regard or the statement’s helpfulness to the jury is not

conspicuously apparent. As for paragraphs 15(a), 15(b), and paragraph 21, insofar as Asher’s

proposed testimony concerning the ultimate issue—reasonable reliance on a tax preparer

professional—is offered in the context of and tethered to facts from permissible sources, at first

blush it would appear that the government fails to demonstrate how Rule 704(b) or Dotson is

violated. 6 However, the Court registers its concern, particularly with respect to paragraph 15—

“Mr. Williams and Ms. Burdett reasonably relied upon Mr. Timothy”—that this is a direct

statement on the ultimate issue of the defendants’ mens rea. The admissibility call for paragraph

15 (including (a) and (b)) would be more clearly in the defendants’ favor were Asher’s opinion

stated in conditional terms, as it is in paragraph 14(a). 7 Asher may offer his opinions so long as

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  The government does not respond to this argument.
6
  Like the “borderline” but permissible opinion admitted in Dotson, Asher in paragraph 21 considers three “facts” and
determines that these “are indicators” that the defendants’ conduct was not fraudulent. Testimony concerning what
certain facts indicate respecting intent appears to comply with Dotson’s gloss on Rule 704(b). Again, however,
Asher’s proposed testimony would be more clearly on the admissible side of the Dotson line if he were to assume the
existence of the “facts” as stated (i.e., condition his finding to assuming that the taxpayers, Jason Williams and Nicole
Burdett, kept their records for all the relevant years; otherwise, this fact itself presents the same potential problem as
indicated by the government’s Rule 802/703 challenge to paragraphs 15(a) and (b), considered below).
7
  For example, paragraph 15(a) begs the question: how does Asher know that the defendants believed Timothy to be
a sufficiently skilled CPA? Similarly, paragraph 15(b) begs an additional question: how does Asher know that the
defendants “provided full and complete information” to Timothy? As indicated below, defense counsel contends that
Asher will not testify “I heard from the defendants” as to these facts. This persuades the Court to defer this issue to

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those opinions are offered in the context of factual indicators (or conditional assumptions in the

absence of facts) forming the basis of his opinion and so long as he does not offer an impermissible

direct statement of the defendants’ (lack of) willfulness.

         Asher will not be permitted to draw for the jury the ultimate conclusion—in the case of a

defense expert, as here, that the defendants reasonably relied on Asher. But, as Dotson instructs,

Rule 704(b) is not strictly construed: where an opinion is on the borderline between permissible

and impermissible, if the testimony is more akin to a summary focused on tying facts to a

conclusion, such testimony is admissible. Insofar as Asher’s statements concerning reasonable

reliance, record-keeping, and documents provided to the tax preparer (whom, according to exhibits

cited by Asher in his report, held himself out to be a CPA) remain focused on facts and the

questions by defense counsel are properly phrased, he will be permitted to testify based on his

specialized experience as to what he believes the facts might indicate. Not knowing precisely how

Asher’s direct examination testimony will develop, the Court opts for this guidance and otherwise

defers to trial resolution of this Rule 704(b) issue.

         2. Whether Asher’s Statements—that Timothy Purported to Be a CPA and that
            Defendants Provided Complete Information to Timothy—Violate Rule 802.

         Second, the government contends that Asher’s proposed testimony in paragraphs 15(a) and

(b) additionally violates Rule 802 because “the only source on which Asher could rely to form this

opinion [i.e., that the defendants believed Timothy was a CPA and that defendants provided

complete information to Timothy] are the defendants’ self-serving [out-of-court] statements.” If

the defendants want their version of events in evidence, the government argues, they must take the



trial. Nevertheless, the Court cautions that, if Asher’s sources or bases for either (i) the defendants’ beliefs regarding
Timothy’s professional competence, or (ii) his characterization for the type and extent of information provided to
Timothy, are the defendants themselves, then it seems that Asher’s testimony on these particular “facts” must be
phrased conditionally to comply with the evidence rules, particularly in order to remain faithful to the touchstone of
helpfulness articulated in Rule 702.

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stand and be subject to cross-examination; they are not permitted to use Asher as a conduit through

which hearsay testimony is presented to the jury.

        The defendants counter that Asher will not testify “I heard from [the defendants]” that they

believed Timothy to be a CPA, nor will Asher testify that he took the defendants’ word for it that

they provided complete information to Timothy; rather, the defendants contend that Asher has

relied on permissible materials and indeed cited to those materials in his revised report. In

particular, the defendants explain that Asher has reviewed the documents produced by the

government in discovery and that those documents are what the defendants provided to Timothy.

It is not hearsay, defendants submit, for Asher to look at the QuickBooks reports provided to

Timothy and to opine that this information was sufficient for a CPA to accurately prepare tax

returns.

        The defendants appear to concede that Asher may not testify as to facts or information he

learned solely from out-of-court statements by the defendants. Assuming, as the defendants

suggest—that it will be demonstrated prior to or during Asher’s examination that he relied upon

sources permitted by Rule 703 and that the Rule 703 balancing test, if implicated, will favor the

defense arguments—the Court would agree that the proposed testimony neither offends Rule 703

nor implicates Rule 802. To resolve the issue at this juncture requires speculation. 8 The Court

thus defers this issue to trial.

        3. Whether Asher’s Proposed Testimony Improperly Comments on Timothy’s Credibility.

        The government next contends that Asher’s proposed testimony (contained in paragraphs

31 and 38) invades the province of the jury by making conclusions as to witness credibility. The


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  The government does not respond to the defendants’ explanation regarding Asher’s purported source or bases for his
expected paragraph 15 testimony. Because the government fails to specifically contend with the defendants’ response,
the Court is left with a “no, it doesn’t/yes, it does” contest, which perhaps a developed trial record will resolve.
Regardless, defense counsel shall be mindful of footnote 7’s caveat.

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trier of fact has the capacity (indeed, the duty) to make its own credibility determinations, thus,

the government submits, expert testimony regarding a witness’s credibility is unnecessary and

Asher may not opine on Timothy’s potential bias; rather, Timothy’s motive or bias may be

explored during Timothy’s cross-examination. That Timothy was investigated, prepared tax

returns for himself and his clients inappropriately, and is subject to tax preparer penalties—the

defendants counter—is not improper credibility testimony because Asher focuses on facts and does

not expressly state that Timothy is not a credible witness. 9

           Although the government’s Rule 702 challenge targets as objectionable only paragraphs

31 and 38 of Asher’s revised expert report (emphasized below), again, to assess whether the

proposed testimony violates Rule 702, context is helpful.

           In paragraphs 28-32, under a heading entitled “Timothy Treated Williams and Burdett in

the Same Way that He treated All His Clients and Himself,” Asher analyzes an IRS-prepared

exhibit summarizing Timothy-prepared client tax return information and Timothy’s own (self-

prepared) tax returns and concludes that “[t]here are numerous indicators that Mr. Timothy

routinely understated the taxable income for hundreds of taxpayers (including himself) for the

years at issue.” In paragraph 31, Asher states “The U.S. investigated [C.D.] and determined Mr.

Timothy prepared the [C.D.] tax returns inappropriately. However, the U.S. chose not to

prosecute [C.D.] or Mr. Timothy in connection with these misrepresentations.” In paragraphs

33-39 under “Timothy Violations,” Asher summarizes the penalties to which tax return preparers

are subject under the Internal Revenue Code, notes at paragraph 38 that “Mr. Timothy is subject

to hundreds of thousands of dollars in tax preparer penalties and may be subject to

imprisonment,” and concludes at paragraph 39 that “Timothy prepared in [sic] income tax returns



9
    Again, the government offers no reply to the defendants’ arguments.

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for Mr. Williams and Ms. Burdett no differently than Timothy did for hundreds of other clients

and for himself.”

         The government singles out the above-emphasized testimony as improperly invading the

credibility-discerning function of the jury. As for Asher’s statement that “the U.S. chose not to

prosecute [C.D.] or Mr. Timothy in connection with these misrepresentations,” regardless of

whether this contravenes the touchstone of helpfulness, 10 the phrasing of this statement (“the U.S.

chose not to prosecute...) renders it inadmissible for a reason previously provided by the Court: it

violates this Court’s prior ruling that evidence or argument regarding selective prosecution would

not be permitted because it is not for the jury (but, rather, for the Court) to decide issues relative

to selective prosecution. See Rec.Doc. 326 (granting as unopposed the government’s motion in

limine to preclude evidence or argument regarding grounds asserted in the defendants’ motions to

dismiss the indictment). 11 This prior ruling precludes Asher’s proposed testimony concerning the

government’s (vast) prosecutorial discretion.

         As for Asher’s statement that “Mr. Timothy is subject to hundreds of thousands of dollars

in tax preparer penalties and may be subject to imprisonment,” the government concludes that the

testimony would not help the jury understand the evidence or determine a fact in issue and is purely

an opinion about Timothy’s potential bias or credibility. The defendants counter that Asher offers

facts and does not directly pass judgment on Timothy’s truthfulness.

         The proffered penalties opinion gives the Court pause. On the one hand, the Court agrees

with the government that an opinion regarding adverse consequences for Timothy’s conduct as a



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   In fact, Asher’s statement would not assist the jury. As a factual matter, such testimony will certainly be elicited
during Timothy’s testimony. Furthermore, there are numerous reasons the government chooses to prosecute a case
and having a mini-trial focused on decisions not to prosecute other Timothy clients would violate Rule 403.
11
   In addition to the fact that selective prosecution is not a jury-issue, defense counsel has indicated that it did not and
does not intend to seek to admit evidence regarding selective prosecution. See id. Presumably, then, this particular
sentence in paragraph 31 is ostensibly a non-issue because the defendants do not intend to elicit such testimony.

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tax preparer in general principally tends to probe Timothy’s potential motive, bias or credibility

(best left to Timothy’s cross-examination). On the other hand, Asher does not directly state that

Timothy is incredible and, in the broader context of Asher providing information concerning tax

return preparer penalties in general, Asher’s statement might be helpful to understanding the

evidence concerning tax preparer standards of conduct. Ultimately, however, paragraph 38’s focus

on a tax preparer’s penalty exposure most probably exceeds the scope of Asher’s admissible expert

testimony and fails to assist the jury insofar as it strays from the critical fact in issue, which is the

defendants’ reasonable reliance or willful conduct in the preparation of Jason Williams’s tax

returns (or, in the case solely against Nicole Burdett, her reasonable reliance or willful conduct

relative to her own returns). Although the admissibility of this proffered opinion seems dubious,

the Court will defer this issue to trial: whether the scope of Asher’s testimony permissibly may

include opinion regarding a third-party tax preparer like Timothy’s penalty exposure.

        4. Whether Asher’s Testimony Should Be Excluded Under Rule 403.

        Finally, the government submits that the critical issue for the jury to resolve is simple and

an expert is not necessary to help it understand whether the defendants willfully engaged in tax

fraud or reasonably relied on Timothy to prepare their tax returns. Accordingly, the government

urges the Court to exclude Asher’s proposed testimony, presumably in globo, because it would

confuse the issues and mislead the jury in violation of Rule 403. The defendants counter that

Asher’s proposed testimony is probative and points out that the government fails to identify how

it would confuse the issues or mislead the jury. At this pretrial juncture, the Court agrees.

        Notably, the government does not directly challenge Asher’s expertise or the prospect of

its potential helpfulness to the jury. And it fails to explain how Asher’s testimony might confuse

issues or mislead the jury. The Court finds that some testimony by Asher (again, whose expertise



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is not contested), limited in scope, concerning third party tax preparer standards (and the attendant

potential reasonableness of taxpayer reliance) is indeed relevant, admissible, and has nontrivial

probative value such that it would be helpful to the jury. Mindful of “the difficulties of making

Rule . . . 403 assessments in the vacuum of pretrial review,” United States v. Williams, 30 F.4th

263, 269 (5th Cir. 2022), the Court defers to trial any specific finding as to whether the probative

value of the challenged portions of Asher’s proposed testimony may be substantially outweighed

by the dangers of confusing the issues, misleading the jury, etc. The Court will resolve any Rule

403 balancing issues on a developed trial record.

        Accordingly, for the foregoing reasons, the government’s renewed motion in limine to

exclude defense expert is hereby GRANTED in part, DENIED in part, and DEFERRED to

trial, in part, as set forth herein.

        New Orleans, Louisiana, this ___ day of _________________,
                                                     June          2022.



                                              _____________________________________
                                              HONORABLE LANCE M. AFRICK
                                              UNITED STATES DISTRICT JUDGE




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